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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 11-75 MCE
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
13                                                       REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     SALVADOR JAMAICA-ARELLANO,                          RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable MORRISON C. ENGLAND

17             Defendant, SALVADOR JAMAICA-ARELLANO, by and through his attorney,
18   Assistant Federal Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA,

19   by and through its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On April 11, 2013, this Court sentenced Mr. Jamaica-Arellano to a term of 70

25   months imprisonment;

26             3.         His total offense level was 27, his criminal history category was I, and the

27   resulting guideline range was 70 to 87 months;

28

     Stipulation and Order Re: Sentence Reduction           1
      Case 2:11-cr-00075-MCE Document 119 Filed 05/27/15 Page 2 of 3



1              4.         The sentencing range applicable to Mr. Jamaica-Arellano was subsequently
2    lowered by the United States Sentencing Commission in Amendment 782, made retroactive on
3    July 18, 2014, see 79 Fed. Reg. 44,973;
4              5.         Mr. Jamaica-Arellano’s total offense level has been reduced from 27 to 25, and
5    his amended guideline range is 57 to 71 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Jamaica-Arellano’s term of imprisonment to a total term of 57 months.
8              7.         In light of the parties’ stipulation, the noticed motion filed May 5, 2015, is
9    withdrawn.
10
     Respectfully submitted,
11
     Dated: May 15, 2015                                 Dated: May 15, 2015
12
     BENJAMIN B. WAGNER                                  HEATHER E. WILLIAMS
13   United States Attorney                              Federal Defender
14
15    /s/ Jason Hitt                                     /s/ David M. Porter
     JASON HITT                                          DAVID M. PORTER
16   Assistant U.S. Attorney                             Assistant Federal Defender

17   Attorney for Plaintiff                              Attorney for Defendant
     UNITED STATES OF AMERICA                            SALVADOR JAMAICA-ARELLANO
18
19                                                      ORDER
20             This matter came before the Court on the stipulated motion of the defendant for reduction
21   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
22             The parties agree, and the Court finds, that Mr. Jamaica-Arellano is entitled to the benefit
23   Amendment 782, which reduces the total offense level from 27 to 25, resulting in an amended
24   guideline range of 57 to 71 months.
25             IT IS HEREBY ORDERED that the term of imprisonment imposed in April 2013 is
26   reduced to a term of 57 months.
27             The noticed motion (ECF No. 116) having been withdrawn, the hearing set for May 28,
28   2015, is VACATED.
     Stipulation and Order Re: Sentence Reduction           2
      Case 2:11-cr-00075-MCE Document 119 Filed 05/27/15 Page 3 of 3



1
2              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
3    remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
4    reduction in sentence, and shall serve certified copies of the amended judgment on the United
5    States Bureau of Prisons and the United States Probation Office.
6              Unless otherwise ordered, Mr. Jamaica-Arellano shall report to the United States
7    Probation Office within seventy-two hours after his release.
8              IT IS SO ORDERED.
9    Dated: May 26, 2015
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     Stipulation and Order Re: Sentence Reduction      3
